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                                       No. 12-260 C
                                                                            FILED
                                    (Filed March 8, 2013)
                                                                          MAR   8 2013
                                                                        U.S. COURT OF
                                                                       FEDERAL CLAIMS
    *********************
    JOHN CROAK,                 *
                                *
              Pro Se Plaintiff, *
                                *
                 v.                        *
                                           *
    THE UNITED STATES,                     *
                                           *
                       Defendant.          *
    *********** **********
                                          ORDER

           On March 1,2013, the Clerk's Office received a submission from plaintiff
    in this matter. The Clerk's Office stated the submission from plaintiff was
    defective because (1) proof of service was missing, pursuant to Rule 5.3 of the
    Rules of the United States Court of Federal Claims (RCFC); (2) copies were
    missing, pursuant to RCFC 5.5(d)(2); (3) the Judge's name was not on the filing,
    see RCFC 5.5(g); and (4) there is no provision in the rules for the filing of this
    item. The matter was referred to the undersigned for a ruling.

          The complaint in this case was filed on April 19, 2012. On August IS,
    2012, defendant filed a motion to dismiss this case pursuant to Rules 12(b)(1) and
    12(b)(6) of the Rules of the United States Court of Federal Claims. (RCFC).
    Plaintifffailed to respond to the government's motion in a timely fashion and, by
    order dated October 10,2012, the court allowed Mr. Croak additional time, until
    November 21, 20) 2, to respond to the motion.

           On November 16, 20) 2, plaintiff submitted a written notice, informing the
    court that he had not been aware ofthe government' s motion to dismiss until
    October 15,2012 and had not actually received hard copies of the motion to
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dismiss until mid-October. As a result of this notice, the court gave plaintiff
substantial leeway with regard to the missed filing deadline, both because plaintiff
is appearing pro se and because it appeared that Mr. Croak might not have
received the government's motion to dismiss because he was scheduled to be
aboard a United States naval ship until approximately October 17, 2012.

      By January 31, 2013, the court, having heard nothing further from plaintiff,
issued a Show Cause Order directing Mr. Croak to show cause, no later than
March 1,2013, why his complaint should not be dismissed for failure to prosecute
pursuant to RCFC 41 (b). On March 1, 2013, the Clerk's Office received a one
sentence submission from plaintiff which stated: "The plaintiff never received
dismissal order from the Court." The Clerk's Office shall file the submission as a
notice to the court.

       It is this court's view that plaintiff, having been afforded more than ample
opportunity to respond to the government's motion to dismiss and having declined
to do so, has forfeited his right to any further pursuit of his claim against the
United States. Accordingly, it is hereby ORDERED that

            (1)    The Clerk's Office shall FILE plaintiffs submission, received
                   on March 1,2013, as a Notice filed by leave ofthe court as of
                   the date of this order; and

            (2)    Pursuant to RCFC 41(b), the Clerk's Office is directed to
                   DISMISS plaintiffs complaint, with prejudice, for failure to
                   prosecute.



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